




People v. Reid



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 80643--Agenda 5--September 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;THE PEOPLE OF THE STATE OF ILLINOIS, Appellee, v. JAMES E. REID,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed December 18, 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE HEIPLE delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury convicted defendant of first degree murder (720 ILCS 5/9--1(a)

 &nbsp;&nbsp;&nbsp;&nbsp;(West 1994)). The jury then found that defendant was eligible to be sentenced to

 &nbsp;&nbsp;&nbsp;&nbsp;death because the murdered individual was killed in the course of the felony of

 &nbsp;&nbsp;&nbsp;&nbsp;home invasion. 720 ILCS 5/9--1(b)(6) (West 1994). Defendant waived a jury for

 &nbsp;&nbsp;&nbsp;&nbsp;sentencing. After considering aggravating and mitigating factors, the circuit court

 &nbsp;&nbsp;&nbsp;&nbsp;determined that there were no mitigating factors sufficient to preclude imposition

 &nbsp;&nbsp;&nbsp;&nbsp;of the death penalty, and accordingly sentenced defendant to death. 720 ILCS 5/9-

 &nbsp;&nbsp;&nbsp;&nbsp;-1(h) (West 1994). Defendant's death sentence has been stayed pending review by

 &nbsp;&nbsp;&nbsp;&nbsp;this court. Ill. Const. 1970, art. VI, sec. 4(b); 134 Ill. 2d R. 609(a). We affirm

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction, but vacate his death sentence and remand for

 &nbsp;&nbsp;&nbsp;&nbsp;resentencing.[fn1]

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;FACTS

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The following evidence was adduced at trial. Defendant testified that he

 &nbsp;&nbsp;&nbsp;&nbsp;met the victim, Janice Wright, in Springfield, Illinois, in 1990. In 1993, he moved

 &nbsp;&nbsp;&nbsp;&nbsp;to an apartment in Bloomington, Illinois. Sometime in 1994, Wright moved to

 &nbsp;&nbsp;&nbsp;&nbsp;Bloomington and began living with defendant in the same apartment, which the

 &nbsp;&nbsp;&nbsp;&nbsp;two jointly rented.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In February 1995, Wright moved out of the apartment and into the Home

 &nbsp;&nbsp;&nbsp;&nbsp;Sweet Home Mission in Bloomington. On February 28, the circuit court entered

 &nbsp;&nbsp;&nbsp;&nbsp;an emergency order of protection prohibiting defendant from having any contact

 &nbsp;&nbsp;&nbsp;&nbsp;with Wright. On March 9, the court entered a plenary order of protection granting

 &nbsp;&nbsp;&nbsp;&nbsp;exclusive possession of the apartment to Wright and prohibiting defendant from

 &nbsp;&nbsp;&nbsp;&nbsp;entering or remaining at the apartment.[fn2] The plenary order gave defendant

 &nbsp;&nbsp;&nbsp;&nbsp;permission to enter the apartment to retrieve his belongings on March 11, 1995,

 &nbsp;&nbsp;&nbsp;&nbsp;between 10 a.m. and 2 p.m. in the presence of police.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that on March 11 he went to the apartment

 &nbsp;&nbsp;&nbsp;&nbsp;unaccompanied by police. He and Wright talked for awhile, and then Wright asked

 &nbsp;&nbsp;&nbsp;&nbsp;him to help her move a washer and dryer which she had purchased from a nearby

 &nbsp;&nbsp;&nbsp;&nbsp;neighbor into the apartment. Defendant went to the neighbor's house, but found

 &nbsp;&nbsp;&nbsp;&nbsp;nobody home. He told Wright that he would return the next day.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 12, defendant again went to the apartment unaccompanied by

 &nbsp;&nbsp;&nbsp;&nbsp;police. As he approached the apartment, Wright met him outside. The two talked

 &nbsp;&nbsp;&nbsp;&nbsp;for 20 to 25 minutes on the front steps. Defendant asked Wright if she could give

 &nbsp;&nbsp;&nbsp;&nbsp;him some money to pay rent to a friend with whom he was living. Wright told

 &nbsp;&nbsp;&nbsp;&nbsp;him that she had no money, but that he could have some rings he had given her

 &nbsp;&nbsp;&nbsp;&nbsp;previously. Defendant told her he did not want to take the rings.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that two individuals, Jessica Chavez and Alfredo

 &nbsp;&nbsp;&nbsp;&nbsp;Aviles, then arrived at the apartment. As Chavez and Aviles came onto the porch,

 &nbsp;&nbsp;&nbsp;&nbsp;a third person, Monica Aceves, came out of the apartment holding an infant.

 &nbsp;&nbsp;&nbsp;&nbsp;Wright, Chavez, and Aceves then went into the apartment and brought out bags

 &nbsp;&nbsp;&nbsp;&nbsp;of defendant's clothes, which defendant put into his car. Defendant then asked

 &nbsp;&nbsp;&nbsp;&nbsp;Wright if she had seen a jacket of his which was missing. She told him he could

 &nbsp;&nbsp;&nbsp;&nbsp;go look for it in the basement, which was accessed by an outside door. She gave

 &nbsp;&nbsp;&nbsp;&nbsp;him the key to the door, and he entered the basement and looked, but did not find

 &nbsp;&nbsp;&nbsp;&nbsp;the jacket. After he returned to the front of the house, he accompanied Wright to

 &nbsp;&nbsp;&nbsp;&nbsp;a nearby pay phone where Wright made a call.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When Wright completed her phone call, she and defendant went back to

 &nbsp;&nbsp;&nbsp;&nbsp;the apartment. Defendant then began asking Chavez, Aviles and Aceves to identify

 &nbsp;&nbsp;&nbsp;&nbsp;their ethnic origin. Wright became upset and told defendant to stop bothering her

 &nbsp;&nbsp;&nbsp;&nbsp;friends. Defendant testified that he then entered the apartment and went to the

 &nbsp;&nbsp;&nbsp;&nbsp;bedroom to look for some gold coins he had placed in a vase. Wright shouted to

 &nbsp;&nbsp;&nbsp;&nbsp;defendant that she would find the coins for him, so he left the bedroom and went

 &nbsp;&nbsp;&nbsp;&nbsp;into the living room where Wright was. Defendant testified that, upon entering the

 &nbsp;&nbsp;&nbsp;&nbsp;living room, he walked over to a shelf which held cassette tapes, and asked

 &nbsp;&nbsp;&nbsp;&nbsp;Wright, "Where is the Mariah Carey tape at?" and that Wright responded, "You

 &nbsp;&nbsp;&nbsp;&nbsp;can't have that tape."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that at this point, he noticed that Wright had a "box

 &nbsp;&nbsp;&nbsp;&nbsp;cutter" or "razor" in her hand. He testified that he was afraid because he had seen

 &nbsp;&nbsp;&nbsp;&nbsp;Wright use a knife before. For example, he testified, three years earlier Wright had

 &nbsp;&nbsp;&nbsp;&nbsp;gotten into an argument with another woman in a tavern and had pulled out a

 &nbsp;&nbsp;&nbsp;&nbsp;knife and that he had to stop the fight. He also testified that once, after an

 &nbsp;&nbsp;&nbsp;&nbsp;argument with him, Wright had cut her own wrists. Finally, he testified that

 &nbsp;&nbsp;&nbsp;&nbsp;Wright had told him that she had "cut up" her first husband "pretty bad."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that as soon as he noticed the box cutter in Wright's

 &nbsp;&nbsp;&nbsp;&nbsp;hand, she bent over and picked up a hammer that was lying on the floor, and that

 &nbsp;&nbsp;&nbsp;&nbsp;he then said, "What are you doing? Put that hammer down." He testified that he

 &nbsp;&nbsp;&nbsp;&nbsp;then grabbed both of Wright's hands and struggled with her, trying to take the

 &nbsp;&nbsp;&nbsp;&nbsp;hammer and box cutter away. Wright then began screaming to the other people

 &nbsp;&nbsp;&nbsp;&nbsp;to call the police, and Chavez and Aviles, who were still out on the porch, began

 &nbsp;&nbsp;&nbsp;&nbsp;screaming as well.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that while he was struggling with Wright, Aviles

 &nbsp;&nbsp;&nbsp;&nbsp;entered the living room and struck him on the left side of his face and then held

 &nbsp;&nbsp;&nbsp;&nbsp;him from behind. Defendant testified that then, "I just gave it all and I came

 &nbsp;&nbsp;&nbsp;&nbsp;around like that and my elbow hit something and the shock came all the way

 &nbsp;&nbsp;&nbsp;&nbsp;through my left hand and the next thing I remember I was out on the front porch

 &nbsp;&nbsp;&nbsp;&nbsp;screaming at the ladies to get away from me." Defendant testified that "it was like

 &nbsp;&nbsp;&nbsp;&nbsp;waking up from a bad dream or something." He testified that he did not recall

 &nbsp;&nbsp;&nbsp;&nbsp;ever having the hammer.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Monica Aceves testified as follows. On March 12, 1995, she was in

 &nbsp;&nbsp;&nbsp;&nbsp;Wright's apartment when defendant arrived. From the living room, she could see

 &nbsp;&nbsp;&nbsp;&nbsp;that Wright and defendant were talking on the porch. Some time later her mother,

 &nbsp;&nbsp;&nbsp;&nbsp;Jessica Chavez, arrived with Alfredo Aviles. Wright then gave defendant some

 &nbsp;&nbsp;&nbsp;&nbsp;bags of clothes, which defendant put in his car. As Wright and defendant then

 &nbsp;&nbsp;&nbsp;&nbsp;began arguing over some cassette tapes, Aceves went into the bathroom. From the

 &nbsp;&nbsp;&nbsp;&nbsp;bathroom, she heard defendant say, "Were you going to use this on me?" Aceves

 &nbsp;&nbsp;&nbsp;&nbsp;then came back into the living room and saw defendant push Wright over the

 &nbsp;&nbsp;&nbsp;&nbsp;armrest of a couch. After Wright got up, defendant started hitting her with a

 &nbsp;&nbsp;&nbsp;&nbsp;hammer. Aceves testified that defendant used the hammer to hit Wright in the

 &nbsp;&nbsp;&nbsp;&nbsp;head, on the back, and "just everywhere." Screaming, Wright tried to get up and

 &nbsp;&nbsp;&nbsp;&nbsp;take the hammer away from defendant, but she could not. Aceves then began

 &nbsp;&nbsp;&nbsp;&nbsp;screaming for defendant to stop, but he continued hitting Wright. Soon, Wright

 &nbsp;&nbsp;&nbsp;&nbsp;stopped screaming and moving, but defendant continued hitting her.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Aceves further testified that during this time, Chavez entered the living

 &nbsp;&nbsp;&nbsp;&nbsp;room and screamed for defendant to stop, and then yelled for the neighbors to call

 &nbsp;&nbsp;&nbsp;&nbsp;the police. Aviles then entered the living room and tried to get the hammer away

 &nbsp;&nbsp;&nbsp;&nbsp;from defendant. Defendant struck Aviles with the hammer, bloodying his face.

 &nbsp;&nbsp;&nbsp;&nbsp;Aviles then ran outside to call for help. Shortly thereafter, defendant left the

 &nbsp;&nbsp;&nbsp;&nbsp;apartment and chased Aviles down the street with the hammer. He then returned

 &nbsp;&nbsp;&nbsp;&nbsp;to the apartment and resumed hitting Wright with the hammer. Chavez screamed

 &nbsp;&nbsp;&nbsp;&nbsp;at him to stop and to leave Wright alone. Defendant then took the hammer and

 &nbsp;&nbsp;&nbsp;&nbsp;went behind the apartment, and soon returned without the hammer. At that point,

 &nbsp;&nbsp;&nbsp;&nbsp;police arrived, and defendant walked toward them with his hands raised and was

 &nbsp;&nbsp;&nbsp;&nbsp;taken into custody.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jessica Chavez testified as follows. When she and Alfredo Aviles arrived

 &nbsp;&nbsp;&nbsp;&nbsp;at Wright's apartment on March 12, 1995, Wright was talking with defendant on

 &nbsp;&nbsp;&nbsp;&nbsp;the front porch. Wright then began giving defendant bags of clothing. Because

 &nbsp;&nbsp;&nbsp;&nbsp;defendant believed one of his jackets was missing, he went around to the

 &nbsp;&nbsp;&nbsp;&nbsp;basement to look for it. When he came back, he told Wright he needed money,

 &nbsp;&nbsp;&nbsp;&nbsp;and then became upset because she said he could not have a television and

 &nbsp;&nbsp;&nbsp;&nbsp;videocassette recorder from the apartment. He then asked for some cassette tapes.

 &nbsp;&nbsp;&nbsp;&nbsp;Wright told him to wait outside and she would get some of the cassettes for him,

 &nbsp;&nbsp;&nbsp;&nbsp;but defendant then followed Wright as she went inside.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A short time later, Chavez heard her daughter, Monica Aceves, screaming,

 &nbsp;&nbsp;&nbsp;&nbsp;"You're killing her." Chavez then looked in the living room and saw defendant

 &nbsp;&nbsp;&nbsp;&nbsp;holding Wright on her upper back and hitting her with a hammer. Chavez

 &nbsp;&nbsp;&nbsp;&nbsp;recognized the hammer as one she had laid on the floor after hanging some

 &nbsp;&nbsp;&nbsp;&nbsp;pictures for Wright. Chavez screamed at defendant to stop and yelled to Aviles to

 &nbsp;&nbsp;&nbsp;&nbsp;come help Wright. After Aviles entered the living room, Chavez saw him fall over

 &nbsp;&nbsp;&nbsp;&nbsp;the couch with his face bloody. She then yelled for Aviles to leave and get help.

 &nbsp;&nbsp;&nbsp;&nbsp;After Aviles left, defendant continued swinging the hammer at Wright. Chavez

 &nbsp;&nbsp;&nbsp;&nbsp;again told defendant to stop. Defendant yelled at Chavez and Aceves to leave the

 &nbsp;&nbsp;&nbsp;&nbsp;house. Defendant then ran out of the apartment with the hammer and went

 &nbsp;&nbsp;&nbsp;&nbsp;towards the pay phone which Aviles was using. Aviles then fled and defendant

 &nbsp;&nbsp;&nbsp;&nbsp;chased him for a short while. Defendant then returned to the apartment and

 &nbsp;&nbsp;&nbsp;&nbsp;resumed hitting Wright on the head with the hammer. Soon, defendant ran outside

 &nbsp;&nbsp;&nbsp;&nbsp;and went behind the apartment with the hammer. When he returned, he did not

 &nbsp;&nbsp;&nbsp;&nbsp;have the hammer.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jose Alfredo Aviles testified as follows. On March 12, 1995, he went to

 &nbsp;&nbsp;&nbsp;&nbsp;Janice Wright's apartment with Jessica Chavez. Upon arriving, he went to the

 &nbsp;&nbsp;&nbsp;&nbsp;front porch and stood there. After some time, he heard a woman screaming. He

 &nbsp;&nbsp;&nbsp;&nbsp;went to the front door of the apartment and saw Wright lying on the floor

 &nbsp;&nbsp;&nbsp;&nbsp;motionless and defendant standing over her, hitting her. When Aviles tried to stop

 &nbsp;&nbsp;&nbsp;&nbsp;defendant from hitting Wright, defendant hit Aviles in the head with something,

 &nbsp;&nbsp;&nbsp;&nbsp;drawing blood immediately. Aviles then ran out of the apartment to a pay phone

 &nbsp;&nbsp;&nbsp;&nbsp;and called for help. Because he was not sure if the operator understood his

 &nbsp;&nbsp;&nbsp;&nbsp;English, Aviles left the phone to get more help, and did not notice whether anyone

 &nbsp;&nbsp;&nbsp;&nbsp;chased him.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Wright was transported to a hospital. When she arrived, she had no

 &nbsp;&nbsp;&nbsp;&nbsp;heartbeat and was not breathing. Doctors observed multiple blows to her head,

 &nbsp;&nbsp;&nbsp;&nbsp;which tore open her brain cavity. After unsuccessful attempts at resuscitation, she

 &nbsp;&nbsp;&nbsp;&nbsp;was pronounced dead. Police later found a hammer underneath a pile of leaves in

 &nbsp;&nbsp;&nbsp;&nbsp;the back yard at the apartment. A utility knife with a retractable blade was found

 &nbsp;&nbsp;&nbsp;&nbsp;in the living room.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The jury was given the option of finding defendant guilty of second degree

 &nbsp;&nbsp;&nbsp;&nbsp;murder based on an unreasonable belief in the necessity of self-defense (720 ILCS

 &nbsp;&nbsp;&nbsp;&nbsp;5/9--2(a)(2) (West 1994)), but instead convicted defendant of first degree murder

 &nbsp;&nbsp;&nbsp;&nbsp;(720 ILCS 5/9--1(a) (West 1994)). The jury then found defendant eligible for the

 &nbsp;&nbsp;&nbsp;&nbsp;death sentence based on the statutory aggravating factor that the murder was

 &nbsp;&nbsp;&nbsp;&nbsp;committed in the course of the felony of home invasion (720 ILCS 5/9--1(b)(6)

 &nbsp;&nbsp;&nbsp;&nbsp;(West 1994)).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant waived a jury for sentencing. In aggravation, the State presented

 &nbsp;&nbsp;&nbsp;&nbsp;evidence that defendant pled guilty in 1986 to battery against his then-girlfriend,

 &nbsp;&nbsp;&nbsp;&nbsp;and was convicted in 1987 of aggravated battery against another girlfriend, whom

 &nbsp;&nbsp;&nbsp;&nbsp;he had beaten with a tire iron. The State also presented evidence that defendant

 &nbsp;&nbsp;&nbsp;&nbsp;had punched another girlfriend in the chest and mouth, and had slapped and

 &nbsp;&nbsp;&nbsp;&nbsp;kicked the victim in the instant case on an occasion prior to her murder.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In mitigation, defendant produced evidence of a psychiatric examination

 &nbsp;&nbsp;&nbsp;&nbsp;he underwent in 1988 in connection with his conviction for the tire-iron beating

 &nbsp;&nbsp;&nbsp;&nbsp;of his previous girlfriend. The examining psychiatrist diagnosed defendant as

 &nbsp;&nbsp;&nbsp;&nbsp;suffering from post-traumatic stress disorder as a result of a 1983 beating he

 &nbsp;&nbsp;&nbsp;&nbsp;received at the hands of prison inmates while defendant was employed as a

 &nbsp;&nbsp;&nbsp;&nbsp;correctional officer. The psychiatrist testified that defendant's disorder causes him

 &nbsp;&nbsp;&nbsp;&nbsp;to become frightened easily and to react violently when he perceives himself as

 &nbsp;&nbsp;&nbsp;&nbsp;being attacked. Defendant also presented evidence that three weeks before the

 &nbsp;&nbsp;&nbsp;&nbsp;instant murder, he had attempted suicide with a drug overdose. Two church

 &nbsp;&nbsp;&nbsp;&nbsp;ministers who had known defendant testified that he was a humble, caring,

 &nbsp;&nbsp;&nbsp;&nbsp;remorseful person, and a positive team worker.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The court found no mitigating factors sufficient to preclude the imposition

 &nbsp;&nbsp;&nbsp;&nbsp;of the death penalty, and sentenced defendant to death.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANALYSIS

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Trial

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Second Degree Murder

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant first contends that the jury improperly failed to find him guilty

 &nbsp;&nbsp;&nbsp;&nbsp;of second degree murder when it instead found him guilty of first degree murder.

 &nbsp;&nbsp;&nbsp;&nbsp;A person commits the offense of second degree murder when he commits the

 &nbsp;&nbsp;&nbsp;&nbsp;offense of first degree murder and at the time of the killing he believes that his

 &nbsp;&nbsp;&nbsp;&nbsp;use of force is necessary to prevent imminent death or great bodily harm to

 &nbsp;&nbsp;&nbsp;&nbsp;himself or another, but his belief is unreasonable. 720 ILCS 5/9--2(a)(2), 7--1

 &nbsp;&nbsp;&nbsp;&nbsp;(West 1994). To reduce an offense from first degree murder to second degree

 &nbsp;&nbsp;&nbsp;&nbsp;murder, the burden is on the defendant to prove that he believed that his use of

 &nbsp;&nbsp;&nbsp;&nbsp;force was necessary. People v. Blackwell, 171 Ill. 2d 338, 357 (1996); People v.

 &nbsp;&nbsp;&nbsp;&nbsp;Jeffries, 164 Ill. 2d 104, 126 (1995). Whether defendant believed, albeit

 &nbsp;&nbsp;&nbsp;&nbsp;unreasonably, that his use of force was necessary is a question of fact, the

 &nbsp;&nbsp;&nbsp;&nbsp;determination of which will not be disturbed on appeal if, viewing the evidence

 &nbsp;&nbsp;&nbsp;&nbsp;in the light most favorable to the prosecution, any rational trier of fact could have

 &nbsp;&nbsp;&nbsp;&nbsp;reached that determination. Blackwell, 171 Ill. 2d at 358.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant contends that he presented evidence from which a rational trier

 &nbsp;&nbsp;&nbsp;&nbsp;of fact could only have concluded that he believed, albeit unreasonably, that his

 &nbsp;&nbsp;&nbsp;&nbsp;use of force against Wright was necessary to prevent imminent death or great

 &nbsp;&nbsp;&nbsp;&nbsp;bodily harm to himself. He emphasizes his testimony that, immediately prior to

 &nbsp;&nbsp;&nbsp;&nbsp;their struggle, Wright had the hammer in one hand and a "box cutter" in the other.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant contends that, because he knew that Wright had once drawn a knife in

 &nbsp;&nbsp;&nbsp;&nbsp;a fight, and had told him that she cut her first husband with a knife, he truly

 &nbsp;&nbsp;&nbsp;&nbsp;believed his use of force against her was necessary to defend himself.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Viewing the evidence in the light most favorable to the prosecution

 &nbsp;&nbsp;&nbsp;&nbsp;(Blackwell, 171 Ill. 2d at 358), we believe that a rational juror could have rejected

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's claim of self-defense. Defendant was 5 feet 11 inches tall and weighed

 &nbsp;&nbsp;&nbsp;&nbsp;245 pounds, while Wright was 5 feet 1 inch tall and weighed 120 or 130 pounds.

 &nbsp;&nbsp;&nbsp;&nbsp;No witness besides defendant testified that Wright had a knife or hammer in her

 &nbsp;&nbsp;&nbsp;&nbsp;hand prior to the incident. In recounting the incident to police afterwards,

 &nbsp;&nbsp;&nbsp;&nbsp;defendant did not mention that Wright was holding a knife. Most compellingly,

 &nbsp;&nbsp;&nbsp;&nbsp;there was evidence that after defendant began attacking Wright, he left the

 &nbsp;&nbsp;&nbsp;&nbsp;apartment for a short time and then returned and resumed beating her. Based on

 &nbsp;&nbsp;&nbsp;&nbsp;this evidence, we hold that the jury's decision not to reduce defendant's offense

 &nbsp;&nbsp;&nbsp;&nbsp;to second degree murder was rational.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ineffective Assistance of Counsel

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant next contends that his trial counsel was ineffective in failing to

 &nbsp;&nbsp;&nbsp;&nbsp;introduce evidence during the guilt/innocence phase that defendant suffered from

 &nbsp;&nbsp;&nbsp;&nbsp;post-traumatic stress disorder as a result of having been beaten by prison inmates

 &nbsp;&nbsp;&nbsp;&nbsp;while working as a correctional officer in 1983. Defendant notes that the trial

 &nbsp;&nbsp;&nbsp;&nbsp;court granted the prosecution's motion in limine to exclude evidence of the

 &nbsp;&nbsp;&nbsp;&nbsp;beating on the grounds that the incident was too remote in time and character

 &nbsp;&nbsp;&nbsp;&nbsp;from the instant offense. In granting the motion, however, the court added that

 &nbsp;&nbsp;&nbsp;&nbsp;"there may be relevant testimony on the issue of intent and so on that could be

 &nbsp;&nbsp;&nbsp;&nbsp;introduced regarding [defendant's] actions or mental state *** either immediately

 &nbsp;&nbsp;&nbsp;&nbsp;before, during, or immediately after the offense." Defendant argues that his

 &nbsp;&nbsp;&nbsp;&nbsp;attorney therefore should have attempted at trial to introduce evidence of his post-

 &nbsp;&nbsp;&nbsp;&nbsp;traumatic stress disorder. Defendant asserts that the jury would have been much

 &nbsp;&nbsp;&nbsp;&nbsp;more likely to reduce his offense to second degree murder if it had known of his

 &nbsp;&nbsp;&nbsp;&nbsp;disorder, which causes him to become frightened easily and to react hastily to

 &nbsp;&nbsp;&nbsp;&nbsp;situations which resemble the original trauma.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To prevail on a claim of ineffective assistance of counsel, a defendant must

 &nbsp;&nbsp;&nbsp;&nbsp;(1) show that his counsel's performance fell below an objective standard of

 &nbsp;&nbsp;&nbsp;&nbsp;reasonableness and (2) demonstrate a reasonable probability that, but for counsel's

 &nbsp;&nbsp;&nbsp;&nbsp;errors, the result of the proceeding would have been different. Strickland v.

 &nbsp;&nbsp;&nbsp;&nbsp;Washington, 466 U.S. 668, 80 L. Ed. 2d 674, 104 S. Ct. 2052 (1984); People v.

 &nbsp;&nbsp;&nbsp;&nbsp;Shatner, 174 Ill. 2d 133, 144 (1996). Decisions concerning which witnesses to call

 &nbsp;&nbsp;&nbsp;&nbsp;at trial and what evidence to present on defendant's behalf ultimately rest with

 &nbsp;&nbsp;&nbsp;&nbsp;trial counsel. People v. Madej, 177 Ill. 2d 116, 148 (1997). As matters of trial

 &nbsp;&nbsp;&nbsp;&nbsp;strategy, such decisions are generally immune from claims of ineffective assistance

 &nbsp;&nbsp;&nbsp;&nbsp;of counsel. Madej, 177 Ill. 2d at 148. The only exception to this rule is when

 &nbsp;&nbsp;&nbsp;&nbsp;counsel's chosen trial strategy is so unsound that counsel entirely fails to conduct

 &nbsp;&nbsp;&nbsp;&nbsp;any meaningful adversarial testing. Madej, 177 Ill. 2d at 149.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that counsel's decision not to introduce evidence of

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's disorder at trial did not constitute ineffective assistance. First, counsel

 &nbsp;&nbsp;&nbsp;&nbsp;could reasonably have surmised that the trial court would not allow any evidence

 &nbsp;&nbsp;&nbsp;&nbsp;that the disorder resulted from the 1983 beating because, in ruling on the motion

 &nbsp;&nbsp;&nbsp;&nbsp;in limine, the court stated merely that it "might" admit evidence of defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;mental state "immediately" before the offense. Counsel could reasonably have

 &nbsp;&nbsp;&nbsp;&nbsp;doubted whether a disorder arising from a 1983 incident would have satisfied this

 &nbsp;&nbsp;&nbsp;&nbsp;condition.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Furthermore, counsel had another sound reason to avoid introducing at trial

 &nbsp;&nbsp;&nbsp;&nbsp;evidence of defendant's disorder. Almost all of the evidence presented at

 &nbsp;&nbsp;&nbsp;&nbsp;sentencing concerning defendant's disorder was gathered in connection with

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's 1987 prosecution and conviction for beating a former girlfriend with

 &nbsp;&nbsp;&nbsp;&nbsp;a tire iron. Counsel may have feared that using any of this evidence at trial would

 &nbsp;&nbsp;&nbsp;&nbsp;have allowed the State to disclose to the jury the details of this earlier offense.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant counters that such a disclosure would have been unnecessary because

 &nbsp;&nbsp;&nbsp;&nbsp;he had been diagnosed initially with the disorder in 1983, just after the beating,

 &nbsp;&nbsp;&nbsp;&nbsp;and so trial counsel could merely have introduced this initial diagnosis, thereby

 &nbsp;&nbsp;&nbsp;&nbsp;avoiding altogether the testimony associated with defendant's 1987 conviction.

 &nbsp;&nbsp;&nbsp;&nbsp;The testimony which counsel offered in mitigation at sentencing, however, was

 &nbsp;&nbsp;&nbsp;&nbsp;much more detailed and current than the original 1983 diagnosis. Counsel could

 &nbsp;&nbsp;&nbsp;&nbsp;reasonably have believed that only the more recent evidence stood a chance of

 &nbsp;&nbsp;&nbsp;&nbsp;persuading the jury, but that the risk of exposing defendant's 1987 conviction

 &nbsp;&nbsp;&nbsp;&nbsp;through use of this evidence outweighed its potential value.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, even if counsel's decision not to introduce defendant's disorder

 &nbsp;&nbsp;&nbsp;&nbsp;were incompetent, defendant has failed to show that the result of the proceeding

 &nbsp;&nbsp;&nbsp;&nbsp;would have been different absent this error. The evidence presented at sentencing

 &nbsp;&nbsp;&nbsp;&nbsp;indicated that defendant's disorder could cause him to react violently when placed

 &nbsp;&nbsp;&nbsp;&nbsp;in a situation similar to that which caused his original trauma: namely, a beating

 &nbsp;&nbsp;&nbsp;&nbsp;at the hands of several prison inmates. Defendant's great size advantage over

 &nbsp;&nbsp;&nbsp;&nbsp;Wright, coupled with the evidence that he returned to the apartment and continued

 &nbsp;&nbsp;&nbsp;&nbsp;to beat Wright after she was motionless, make it unlikely that the jury would have

 &nbsp;&nbsp;&nbsp;&nbsp;found a causal link between his disorder and his attack on Wright. We therefore

 &nbsp;&nbsp;&nbsp;&nbsp;hold that counsel was not ineffective in failing to introduce at trial evidence of

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's post-traumatic stress disorder.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant also contends that counsel was ineffective in failing to introduce

 &nbsp;&nbsp;&nbsp;&nbsp;available evidence that Wright had borrowed the "box cutter" from a friend for

 &nbsp;&nbsp;&nbsp;&nbsp;protection. Defendant notes that when police found a utility knife on the floor of

 &nbsp;&nbsp;&nbsp;&nbsp;the apartment after the offense, they mistakenly assumed that it belonged to rescue

 &nbsp;&nbsp;&nbsp;&nbsp;personnel, and so had it delivered to the fire station with some other rescue

 &nbsp;&nbsp;&nbsp;&nbsp;supplies. When the rescue workers later discovered the knife with their supplies,

 &nbsp;&nbsp;&nbsp;&nbsp;they informed police that it was not theirs and returned it. According to a police

 &nbsp;&nbsp;&nbsp;&nbsp;report filed subsequently, a friend of Wright's told police that Wright had

 &nbsp;&nbsp;&nbsp;&nbsp;borrowed the knife from him for protection because she was worried that she

 &nbsp;&nbsp;&nbsp;&nbsp;might have a confrontation with defendant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant argues that his trial counsel was ineffective in failing to

 &nbsp;&nbsp;&nbsp;&nbsp;introduce evidence that Wright borrowed the knife. He argues that the jury would

 &nbsp;&nbsp;&nbsp;&nbsp;have been more likely to reduce the offense to second degree murder if it had

 &nbsp;&nbsp;&nbsp;&nbsp;heard evidence that Wright had intentionally armed herself against him.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We hold that counsel's decision not to introduce this evidence was within

 &nbsp;&nbsp;&nbsp;&nbsp;the range of reasonably effective professional assistance. The fact that Wright felt

 &nbsp;&nbsp;&nbsp;&nbsp;she needed to arm herself for a possible confrontation with defendant might have

 &nbsp;&nbsp;&nbsp;&nbsp;negatively influenced the jury. The owner of the knife might have testified as to

 &nbsp;&nbsp;&nbsp;&nbsp;the specific basis for Wright's fear of defendant. Working without the benefit of

 &nbsp;&nbsp;&nbsp;&nbsp;hindsight, it was within counsel's discretion to conclude that any evidence of

 &nbsp;&nbsp;&nbsp;&nbsp;precautionary measures taken by Wright could have unduly prejudiced the jury

 &nbsp;&nbsp;&nbsp;&nbsp;against defendant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Furthermore, even if this decision by counsel were error, defendant has not

 &nbsp;&nbsp;&nbsp;&nbsp;shown a reasonable probability that, but for this error, the jury would have

 &nbsp;&nbsp;&nbsp;&nbsp;convicted him of second degree murder. Out of four eyewitnesses who testified

 &nbsp;&nbsp;&nbsp;&nbsp;concerning the fatal struggle, only defendant stated that Wright had the "box

 &nbsp;&nbsp;&nbsp;&nbsp;cutter" in her hand at the time of the incident. Indeed, even the defendant did not

 &nbsp;&nbsp;&nbsp;&nbsp;inform police after the offense that Wright was wielding the knife just prior to his

 &nbsp;&nbsp;&nbsp;&nbsp;attack. Accordingly, it is unlikely that the jury would have given much weight to

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's subsequent, uncorroborated version of the origin of the struggle even

 &nbsp;&nbsp;&nbsp;&nbsp;if it had known that Wright procured the knife to protect herself. We thus hold

 &nbsp;&nbsp;&nbsp;&nbsp;that counsel's decision not to introduce this evidence did not constitute ineffective

 &nbsp;&nbsp;&nbsp;&nbsp;assistance.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Exclusion of Battery Conviction

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant next contends that the trial court erred in refusing to admit a

 &nbsp;&nbsp;&nbsp;&nbsp;purported copy of Wright's battery conviction from Shelby County, Indiana.

 &nbsp;&nbsp;&nbsp;&nbsp;Defense counsel asserted at trial that the conviction was for an incident in which

 &nbsp;&nbsp;&nbsp;&nbsp;Wright struck a man in the face with her hand. The tendered exhibit, however,

 &nbsp;&nbsp;&nbsp;&nbsp;listed two persons as defendants, "Nancy Martin" and "Janice Lockridge." The

 &nbsp;&nbsp;&nbsp;&nbsp;State objected that the evidence was inadmissible because defendant had not

 &nbsp;&nbsp;&nbsp;&nbsp;proven that Janice Lockridge was Janice Wright. The trial court denied

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's motion to introduce the conviction.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evidentiary rulings are within the sound discretion of the trial court and

 &nbsp;&nbsp;&nbsp;&nbsp;will not be reversed unless the court has abused that discretion. People v. Boclair,

 &nbsp;&nbsp;&nbsp;&nbsp;129 Ill. 2d 458, 476 (1989). Defendant testified at trial that Wright had once told

 &nbsp;&nbsp;&nbsp;&nbsp;him that she cut her former husband with a knife in Shelbyville, Indiana.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant testified that he believed that man's name was Ralph Lockridge. An

 &nbsp;&nbsp;&nbsp;&nbsp;information attached to the Indiana battery conviction tendered by defendant

 &nbsp;&nbsp;&nbsp;&nbsp;identified the victim of that offense as Raymond Jones. In excluding the evidence,

 &nbsp;&nbsp;&nbsp;&nbsp;the trial court emphasized two discrepancies in the evidence offered by defendant:

 &nbsp;&nbsp;&nbsp;&nbsp;first, the victim's name was Janice Wright while the name of the defendant in the

 &nbsp;&nbsp;&nbsp;&nbsp;battery case was Janice Lockridge; second, defendant testified that Wright's

 &nbsp;&nbsp;&nbsp;&nbsp;former husband was named Ralph Lockridge, while the victim of the referenced

 &nbsp;&nbsp;&nbsp;&nbsp;battery was Raymond Jones.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In light of these facts, we do not believe that the trial court abused its

 &nbsp;&nbsp;&nbsp;&nbsp;discretion in excluding the battery conviction. Defendant's testimony was the sole

 &nbsp;&nbsp;&nbsp;&nbsp;source of evidence as to other names Wright had used. Defendant's failure to

 &nbsp;&nbsp;&nbsp;&nbsp;introduce competent, objective evidence that the defendant named in the

 &nbsp;&nbsp;&nbsp;&nbsp;conviction was in fact Wright, coupled with the discrepancy between the listed

 &nbsp;&nbsp;&nbsp;&nbsp;victim and defendant's recollection of the name of Wright's former husband,

 &nbsp;&nbsp;&nbsp;&nbsp;justified the trial court's exclusion of the evidence.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Furthermore, even if we believed that exclusion of the evidence was error,

 &nbsp;&nbsp;&nbsp;&nbsp;we would hold that the error was not so serious as to warrant reversal of

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction. Evidentiary errors are harmless if properly admitted

 &nbsp;&nbsp;&nbsp;&nbsp;evidence overwhelmingly supports defendant's guilt. People v. Miller, 173 Ill. 2d

 &nbsp;&nbsp;&nbsp;&nbsp;167 (1996). If the jury had been informed that Wright allegedly struck a former

 &nbsp;&nbsp;&nbsp;&nbsp;husband with her fist, this fact still would not have negated defendant's culpability

 &nbsp;&nbsp;&nbsp;&nbsp;for her murder, especially since there was evidence that defendant continued

 &nbsp;&nbsp;&nbsp;&nbsp;beating Wright with the hammer even after she became unable to resist.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sentencing

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Home Invasion

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The sole aggravating factor advanced by the State for death penalty

 &nbsp;&nbsp;&nbsp;&nbsp;eligibility was murder in the course of the felony of home invasion. 720 ILCS 5/9-

 &nbsp;&nbsp;&nbsp;&nbsp;-1(b)(6) (West 1994). The home invasion statute provides, in relevant part, that a

 &nbsp;&nbsp;&nbsp;&nbsp;person commits the offense when "without authority he or she knowingly enters

 &nbsp;&nbsp;&nbsp;&nbsp;the dwelling place of another." 720 ILCS 5/12--11(a) (West 1994). Defendant

 &nbsp;&nbsp;&nbsp;&nbsp;contends that he did not commit the offense of home invasion because both he

 &nbsp;&nbsp;&nbsp;&nbsp;and Wright rented the apartment in which the murder occurred, and therefore he

 &nbsp;&nbsp;&nbsp;&nbsp;did not enter the home "of another," but rather entered his own home.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State responds, citing People v. Williams, 222 Ill. App. 3d 129 (1991),

 &nbsp;&nbsp;&nbsp;&nbsp;that the order of protection in effect against defendant at the time of the murder,

 &nbsp;&nbsp;&nbsp;&nbsp;which granted "exclusive possession" of the apartment to Wright, rendered the

 &nbsp;&nbsp;&nbsp;&nbsp;apartment the "dwelling place of another" for purposes of the home invasion

 &nbsp;&nbsp;&nbsp;&nbsp;statute. In Williams, the defendant was charged with residential burglary, an

 &nbsp;&nbsp;&nbsp;&nbsp;offense which, like home invasion, requires that the defendant enter the dwelling

 &nbsp;&nbsp;&nbsp;&nbsp;place "of another." 720 ILCS 5/19--3 (West 1994). Like the instant defendant, the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant in Williams was a joint tenant of a residence to which the other tenant

 &nbsp;&nbsp;&nbsp;&nbsp;had been given exclusive possession by a protective order. The appellate court in

 &nbsp;&nbsp;&nbsp;&nbsp;Williams noted that the Illinois Domestic Violence Act of 1986 (the Act) (750

 &nbsp;&nbsp;&nbsp;&nbsp;ILCS 60/214 (West 1994)) provides that the owner of a home may be denied

 &nbsp;&nbsp;&nbsp;&nbsp;access to the home as a condition of a protective order. Williams, 222 Ill. App. 3d

 &nbsp;&nbsp;&nbsp;&nbsp;at 135. The appellate court held that, in order to effectuate the purposes of the

 &nbsp;&nbsp;&nbsp;&nbsp;Act, the residential burglary statute must be construed to render a home that "of

 &nbsp;&nbsp;&nbsp;&nbsp;another" when the defendant is barred from entering the home by a protective

 &nbsp;&nbsp;&nbsp;&nbsp;order. Williams, 222 Ill. App. 3d at 135.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant replies, citing People v. Moulton, 282 Ill. App. 3d 102 (1996),

 &nbsp;&nbsp;&nbsp;&nbsp;that the phrase "of another" precludes prosecution of a tenant for entering his own

 &nbsp;&nbsp;&nbsp;&nbsp;home. In Moulton, the defendant was charged with home invasion after he entered

 &nbsp;&nbsp;&nbsp;&nbsp;a residence which he and his ex-wife jointly owned. Moulton, 282 Ill. App. 3d at

 &nbsp;&nbsp;&nbsp;&nbsp;103. In affirming the trial court's dismissal of the home invasion charge, the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court noted that, as originally proposed, the home invasion statute did

 &nbsp;&nbsp;&nbsp;&nbsp;not include the phrase "of another." Moulton, 282 Ill. App. 3d at 105. That phrase

 &nbsp;&nbsp;&nbsp;&nbsp;was added only after a number of Senators expressed their concerns that parties

 &nbsp;&nbsp;&nbsp;&nbsp;to domestic disputes would be charged under the statute. See 80th Ill. Gen

 &nbsp;&nbsp;&nbsp;&nbsp;Assem., Senate Proceedings, June 28, 1978, at 78-79. Explaining the addition of

 &nbsp;&nbsp;&nbsp;&nbsp;the phrase, one legislator stated that "[n]ow we have, through the Conference

 &nbsp;&nbsp;&nbsp;&nbsp;Committee, made a clarification raised by some Senators that would provide that

 &nbsp;&nbsp;&nbsp;&nbsp;it must be the home of another so you could not commit that offense in your own

 &nbsp;&nbsp;&nbsp;&nbsp;home." 80th Ill. Gen. Assem., House Proceedings, June 30, 1978, at 135

 &nbsp;&nbsp;&nbsp;&nbsp;(statements of Representative Getty).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In drafting the home invasion statute, the legislature thus specifically

 &nbsp;&nbsp;&nbsp;&nbsp;sought to exclude domestic disputes from the reach of the statute. Given this clear

 &nbsp;&nbsp;&nbsp;&nbsp;expression of legislative intent, we hold that a defendant does not commit the

 &nbsp;&nbsp;&nbsp;&nbsp;offense of home invasion when he enters a dwelling which a protective order

 &nbsp;&nbsp;&nbsp;&nbsp;prohibits him from entering but of which he is an otherwise lawful tenant. The

 &nbsp;&nbsp;&nbsp;&nbsp;Domestic Violence Act does not in any way purport to affect the interpretation of

 &nbsp;&nbsp;&nbsp;&nbsp;the phrase "of another" as used in the Criminal Code of 1961 (720 ILCS 5/1--1

 &nbsp;&nbsp;&nbsp;&nbsp;et seq. (West 1994)). Unless and until the legislature indicates that the Act is

 &nbsp;&nbsp;&nbsp;&nbsp;meant to supersede the plain import and legislative history of this phrase, we

 &nbsp;&nbsp;&nbsp;&nbsp;decline to apply the Act in the manner urged by the State. Despite the plenary

 &nbsp;&nbsp;&nbsp;&nbsp;order of protection requiring that defendant in the instant case refrain from

 &nbsp;&nbsp;&nbsp;&nbsp;entering the apartment, the apartment was still being rented by him at the time of

 &nbsp;&nbsp;&nbsp;&nbsp;the alleged offense, and therefore was not the "dwelling of another."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We note, however, that despite our holding today, persons such as

 &nbsp;&nbsp;&nbsp;&nbsp;defendant who violate orders of protection will continue to be subject to the full

 &nbsp;&nbsp;&nbsp;&nbsp;range of punishments available to the State under both the Criminal Code and the

 &nbsp;&nbsp;&nbsp;&nbsp;Domestic Violence Act. See 750 ILCS 60/223 (West 1994) (providing that

 &nbsp;&nbsp;&nbsp;&nbsp;violations of protective orders may be prosecuted in conjunction with underlying

 &nbsp;&nbsp;&nbsp;&nbsp;criminal charges or through separate civil or criminal contempt proceedings).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the above reasons, we hold as a matter of law that defendant did not

 &nbsp;&nbsp;&nbsp;&nbsp;commit the offense of home invasion when he entered his own apartment.

 &nbsp;&nbsp;&nbsp;&nbsp;Consequently, commission of the felony of home invasion cannot serve as an

 &nbsp;&nbsp;&nbsp;&nbsp;aggravating factor permitting imposition of the death penalty in this case. We

 &nbsp;&nbsp;&nbsp;&nbsp;therefore affirm the defendant's conviction for first degree murder, but vacate the

 &nbsp;&nbsp;&nbsp;&nbsp;sentence of death and remand this cause to the circuit court of McLean County

 &nbsp;&nbsp;&nbsp;&nbsp;for resentencing. In light of this disposition, it is unnecessary for us to address

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's additional challenges to his original sentencing hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Conviction affirmed;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;death sentence vacated;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;cause remanded.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE MILLER, concurring in part and dissenting in part:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I concur in the majority's affirmance of the defendant's conviction for first

 &nbsp;&nbsp;&nbsp;&nbsp;degree murder. Unlike the majority, however, I would also uphold the

 &nbsp;&nbsp;&nbsp;&nbsp;determination that the defendant is eligible for the death penalty, and accordingly

 &nbsp;&nbsp;&nbsp;&nbsp;I dissent from that portion of the majority opinion.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although the legislature apparently intended to omit domestic disputes

 &nbsp;&nbsp;&nbsp;&nbsp;from the scope of the home invasion statute, no mention was made during the

 &nbsp;&nbsp;&nbsp;&nbsp;legislative debates of entries made in violation of protective orders or other

 &nbsp;&nbsp;&nbsp;&nbsp;decrees barring a person's presence in a home. After reviewing the legislative

 &nbsp;&nbsp;&nbsp;&nbsp;history of the home invasion provision, the appellate court in People v. Moulton,

 &nbsp;&nbsp;&nbsp;&nbsp;282 Ill. App. 3d 102, 107 (1996), concluded:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"It is apparent that the legislature did not intend for the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;home invasion statute to apply to cases of domestic violence

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;involving married couples. It is unclear, however, whether the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;statute applies in cases where, as here, the parties are recently

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;divorced and the defendant retains an ownership, but not a

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;possessory, interest in the dwelling."

 &nbsp;&nbsp;&nbsp;&nbsp;The defendant's entry in Moulton was made in violation of an order of protection.

 &nbsp;&nbsp;&nbsp;&nbsp;Like Moulton, the present appeal falls in the latter group of cases, in which the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant retained an ownership interest, but not a possessory interest, in the

 &nbsp;&nbsp;&nbsp;&nbsp;subject property.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Unlike the majority, I would conclude that a defendant who violates an

 &nbsp;&nbsp;&nbsp;&nbsp;order of protection by entering the subject premises has entered the dwelling of

 &nbsp;&nbsp;&nbsp;&nbsp;another, as prohibited by the home invasion statute. Entry of a residence made in

 &nbsp;&nbsp;&nbsp;&nbsp;violation of a court order is done without authority and, moreover, can represent

 &nbsp;&nbsp;&nbsp;&nbsp;as great a risk to the personal safety of the occupants as the unauthorized entry

 &nbsp;&nbsp;&nbsp;&nbsp;of a stranger's home. I would therefore construe the home invasion statute as

 &nbsp;&nbsp;&nbsp;&nbsp;including within its scope an entry made in violation of an order of protection.

 &nbsp;&nbsp;&nbsp;&nbsp;This interpretation is consistent with the purposes of both the home invasion

 &nbsp;&nbsp;&nbsp;&nbsp;statute and the Illinois Domestic Violence Act of 1986 (750 ILCS 60/101 through

 &nbsp;&nbsp;&nbsp;&nbsp;401 (West 1996)).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For these reasons, I believe that the defendant could be found eligible for

 &nbsp;&nbsp;&nbsp;&nbsp;the death penalty on the ground that the murder occurred in the course of his

 &nbsp;&nbsp;&nbsp;&nbsp;commission of home invasion. I would therefore consider in this appeal the

 &nbsp;&nbsp;&nbsp;&nbsp;remaining challenges raised by the defendant to his sentence of death.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;[fn1] The same jury also convicted defendant of aggravated battery against Jose

 &nbsp;&nbsp;&nbsp;&nbsp;Alfredo Aviles. Defendant has not challenged this conviction on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;[fn2] An emergency order of protection may issue before respondent has answered

 &nbsp;&nbsp;&nbsp;&nbsp;the petition or appeared, but is effective for no more than 21 days. 750 ILCS

 &nbsp;&nbsp;&nbsp;&nbsp;60/217, 220 (West 1994). A plenary order of protection may not issue until

 &nbsp;&nbsp;&nbsp;&nbsp;respondent has answered or is in default, but may be effective for up to two years.

 &nbsp;&nbsp;&nbsp;&nbsp;750 ILCS 60/219, 220 (West 1994).


